Case 2:23-cr-20191-MSN           Document 839 Filed 06/11/25          Page 1 of 1      PageID
                                          15932



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                           Case No. 2:23-cr-20191-MSN

EMMITT MARTIN, III,

      Defendant.
______________________________________________________________________________

                ORDER DIRECTING GOVERNMENT RESPONSE
                AND DEFENDANT UPDATE ON STATE CHARGES
______________________________________________________________________________

       Before the Court is Defendant Emmitt Martin, III’s Unopposed Motion to Continue

Sentencing Hearing and Corresponding Deadlines (ECF No. 838, “Motion”). Defendant is set for

sentencing on Wednesday, June 18, 2025, at 9:30 a.m. Defendant filed this Motion on June 11,

2025, one week before his scheduled sentencing.

       The Motion states that the Government agrees to a short continuance but does not agree on

the grounds asserted by Defendant. To clarify the record, the Court ORDERS the following:

       The Government shall file a written response to the Motion by noon on Friday, June 13,

2025. The response must identify which grounds, if any, the Government agrees would support a

continuance. Defendant is also ordered to update the Court by the same deadline on the current

status and next setting of his pending state charges.

       IT IS SO ORDERED, this 11th day of June, 2025.

                                                        s/ Mark S. Norris
                                                        MARK S. NORRIS
                                                        UNITED STATES DISTRICT JUDGE
